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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Dyanna Bottoms,                        )
                                       )
       Plaintiff,                      ) Civil Action File No.:
                                       ) 1:21-cv-01209-MLB
v.                                     )
                                       )
H& R Accounts, Inc.,                   )
                                       )
       Defendant.                      )

                    NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff, Dyanna Bottoms, by and through undersigned counsel, hereby

dismisses this action against Defendant with prejudice pursuant to FED. R. CIV. P.

41(a)(1)(A)(i).

      Respectfully submitted this 29th day of September, 2021.

                                            BERRY & ASSOCIATES
                                            /s/ Matthew Berry
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                                            Atlanta, GA 30324
                                            Counsel for Plaintiff

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 29, 2021, I caused the electronic filing of
the foregoing document to be filed with the Clerk of the Court using the CM/ECF
system, which will automatically send e-mail notifications of such filing to all
attorneys of record that have appeared in this case.

                                              BERRY & ASSOCIATES

                                              /s/ Matthew Berry
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                                              Atlanta, GA 30324

                                              Counsel for Plaintiff




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